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     Timothy E. Warriner (SB#166128)
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     (916) 443-7141
 3
     Attorney for Defendant,
 4   Chhom Mao
 5
                                  UNITED STATES DISTRICT COURT
 6
                          FOR THE EASTERN DISTSRICT OF CALIFORNIA
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 8                                                   )    Case No. CR S 04-0205 GEB
     UNITED STATES OF AMERICA,                       )
 9                                                   )    APPLICATION FOR APPOINTMENT OF
                    Plaintiff,                       )    COUNSEL CONCERNING PROCEEDINGS
10                                                   )    TO REDUCE SENTENCE PURSUANT TO
            vs.                                      )    18 U.S.C. § 3582(c)(2); ORDER
11                                                   )
     CHHOM MAO,                                      )    RETROACTIVE CRACK COCAINE
12                                                   )    REDUCTION CASE
                    Defendant                        )
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            Pursuant to 18 U.S.C. § 3582(c)(2), Mr. Mao is entitled to petition the court for a
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     reduction in his sentence due to the retroactive Sentencing Guideline amendment concerning
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     crack cocaine. Counsel has met with Phillip Talbert, First Assistant United States Attorney,
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     concerning Mr. Mao’s crack cocaine sentence. Mr. Talbert has signed a stipulated motion to
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19   reduce Mr. Mao’s sentence. The Office of the Federal Defender agrees that counsel should be

20   appointed to represent Mr. Mao. Therefore, counsel requests that the court appoint him for the

21   purposes of proceedings to reduce his crack cocaine sentence pursuant to 18 U.S.C. § 3582(c)(2).
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     It is further requested that the appointment be nunc pro tunc to November 3, 2011, which is the
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     date that counsel first began working on this matter.
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     DATED: November 8, 2011                      /s/ Timothy E. Warriner, Attorney for Defendant,
25                                                Chhom Mao
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 2
                                                ORDER

 3          GOOD CAUSE APPEARING, attorney Timothy E. Warriner is hereby appointed under

 4   the Criminal Justice Act to represent Mr. Chhom Mao concerning proceedings related to the
 5   reduction of his crack cocaine sentence. Said appointment is nunc pro tunc to November 3, 2011.
 6
     November 9, 2011
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                                             GARLAND E. BURRELL, JR.
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                                             United States District Judge
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